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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )                MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on the motion of

defendant Christopher Scott to vacate, set aside or correct his

sentence (Filing No. 1243).          This is not the first motion

defendant has filed pursuant to 28 U.S.C. § 2255.

            A petitioner seeking to file a second or successive

§ 2255 motion challenging their conviction or sentence must first

obtain circuit court certification.           28 U.S.C. § 2255(h).

Because the defendant has not received approval from the Eighth

Circuit to file a second or successive § 2255 motion, the Court

lacks jurisdiction over his claims.           See, United States v. Key,

205 F.3d 773, 774 (5th Cir. 2000); United States v.

Alvarez-Ramirez, 128 F.Supp.2d 1265, 1267 (C.D.Cal. 2001).

Lacking jurisdiction, defendant’s motion will be dismissed
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without prejudice.      A separate order will be entered in

accordance with this memorandum opinion.

            DATED this 23rd day of January, 2014.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
